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                        Exhibit E
Case 1:08-cv-01218-WBS-SMS                Document 205-5            Filed 03/08/11      Page 2 of 4
                                           TIlE LAW FIRM OF
                                  CAMPAGNE, CAMPAGNE & LERNER
                                      A J'RORSSIONAL CORPORAT'ION
      ArnlBlIm
                                                                                  AlRPOllTOma: Ct:NT£R
THO\IJAS P. CAMPAGNE
 JtI$TlN T. CAMPAGI'fe                                                               11115 N. HELM A VBNv.:
    MARY F. lo'S1lNBTt                                                           P'IlItSNO. CALI'I'ORNJA, 93'72'7
  wn.EY R. DRISKILL
 BRANDON M. COLLET                                                              £MAlL: CC@)calllpapdlw.eom
                                                                                 TlLD'RON8 (559) 25501617
                                         December 17. 2010                            FAX (sst) 252-9617




    Via Facsimile (209) 726-1337
    and U.S. Mail

    Roger S. Matzkind
    County of Merced
     2222 M Street
     Merced, California 95340

                         Re:·   Karen Crane-McNab, UC, et al. v. County ofMerced
                                Inverse Condemnation
                                USDC Eastern Dist. Case No. 1:08-CV-01218-UO-SMS
                                Our Reference Nos.! BN-53016; FN-78 11

     Dear Mr. Matzkind:

                  Thank you for sending me a copy of the BAI Contract for
     constructing a mediation gas collection system on the Westside.

                   With regard to the balance of your letter, I'll take it that you are
     trying to confirm your understanding of a private and confidential settlement
     conversation (that you and I and Justin bad outside in the hallway after our
     appearance before Judge O'Neill at the pre·trial hearing). I think you may have
     some misunderstandings about what 1 was trying to convey. So let me continue
     with those private and confidential settlement discussions by now simply setting
     forth below in writing what I was trying to communicate in the hallway.

                  The fll'St point I was trying to make to you was that I didn~t
     understand (and I still don't) why the County of Merced told Judge O'Neill that
     the County was refusing to have a settlement· meeting, either with a retired
     Judge/Mediator and/or with a Magistrate. I tried to explain my lack of
     understanding by expressing that the County of Merced is being sued for an
     injunction to stop migrations and for damages for past migrations, and for
     damages and legal fees under the inverse condemnation statute. I was trying to
     communicate that I didn't think the County would be able to pull off their
     argument that the ~ chemicals emitting south are just coincidentally found
     West. Particularly in light of the ract that it looked like the County was going to
     put in a Westside collection remediation system. ThU5, I was suggesting that we
      go forward with a settlement conference as to the language of an injunction (as
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TIft LAW FIRM OF' CAMPAGNE, CAMPAGNE & L'ERNER, A l'JlOPESSIONAL CORPORATION

       Roger Matzkind
       December 17,2010
       Page 2

       prayed for), with discussions of damages for pre-construction migrations, plus
       reasonable attorneys' fees.

                      Also, I was trying to express that at the only other appearance I have
        made in this C8Se namely at the Status Conference before Magistrate Judge
                                         7

        Sandra Snyder, that both counsel in appearance for the County of Merced
        stipulated to not only attend early mediation, but fonnal mediation before a
        Magistrate if that was unsuccessful. In that regard, I had earlier sent the County
        Counsel's Office a Ust of 4 or 5 Iudges to choose from for early Mediation. 10
        short, what I was trying to express in the hallway is that I did not understand why
        the County had gone from wanting an early settlement conference Y! refusing any
        settlement conference at all, particularly in light of the Westside collection
        construction.

                     I would, therefore, as "part and parcef' my continuing efforts since
        the Scheduling Conference, and in furtherance of my prior letters giving you list of
        settlement Mediators to again suggest that the parties have a quick Settlement
        Conference to work out the injunction and/or damages and/or legal fees, or at least
        attempt to resolve this case as the County originally promised at the scheduling
        conference.

                                                                                   v cry 1ruly yours,

                                                                                   Campagne, Campagne & Lerner,
                                                                                   A Professional Corporation

                                                                                   Dictated but not read
                                                                                   Prio, to diJptltch as
                                                                                   10 expedite delivery.

                                                                                   By Thomas E. Campagne
         TEC:snw

         cc:         Mr. Fincher
         cc:         Mr. James E. Stone
         !,,:\DATI\\doct\McNab. t<a....\!fwy. S!l\Comlr;p(ItIdc"cc\Matr.kind-ur.121610.do~
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                                    CAMPAGNE, CAMPAGNE. & LEItNER.
                                          A PllOfES8JONAL CORPORATION
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THOMAS E. CAMJ>;\.GN!
 JUSTIN T. CAMl"AGNE                                                                             t6&5 If. 8Zl.N A'VENtJE
   MARY II. LDI'IER                                                                           Qf..8NO. CALIFO_mA wn7
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     LAWQ.PP                        FAX TRANSMrITAL FORM                                      TP,1..IlPHOI'fE (559) %55-1 U7
BRANDON M. COLLET                                                                                 •.u.: (559) 2S2-9fi 17




 TO:                 Roger S. Matzkind                       At Fax Number:        (209) 726-1337
 From:               Thomas E. Campagne                      Date:

                                                             Number ofPagM (lDdadiDg this c:ovenheet):          ~
 cc:

 This Space for Message to Addressee:




                        CONFIDENTIALITY NOTE TO "WRONGFULIMISTAKRN" RECEIVER
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